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ORIGINAL

Thomas H. Bienert, Jr., State Bar No. 135311

 

 

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Attorneys for Plaintiff/Realtor
UNDER SEAL A & B '

IN THE UNITED STATES DISTRICT COURT
FoR THE cENTRAL DISTRICT OF cALIFORNIA
SOUTHERN DIVISION

UNDER SEAL A & B,

Plaintiff,
FILED IN CAMERA AND UNDER SEAL
V. DO NOT ENTER ON PACER
UNDER SEAL C, D, E, F, and G, PLAINTIFF'S ORIGINAL COMPLAINT
PURSUANT TO THE FEDERAL FALSE

Defendants. CLAIMS ACT, 31 U.S.C. §§ 3729-3732

DO NOT ENTER ON PACER
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FILED UNDER SEAL As REQUIRED BY 31 U.S.C. § 3730(b)(2)

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Attonieys for Plaintiff/Realtor tit w
JOSE R. VALDEZ
IN THE UI\HTED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION
UNITED sTATEs oF AMERICA ex rez. Civi1 Action NO. CV11'03343 GAF (JCX)
JosE R. VALDEZ,
Plaintiff, FILED IN CAMERA AND UNDER SEAL

 

DO NOT ENTER ON PACER
v.
PLAINTIFF’S ORIGINAL COMPLAINT
AVETA, INC.; MMM HEALTHCARE, PURSUANT TO THE FEDERAL FALSE
INC.; PMC MEDICARE CHOICE, INC.; CLAIMS ACT, 31 U.S.C. §§ 3729-3732
MSO OF PUERTO RICO, INC.; MMM
HOLDINGS, INC.,

_ § ' JURY TRIAL DEMANDED
Defendants.

 

 

 

 

PLAINTIFF’S ORIGINAL COMPLAINT PURSUANT TO
THE FEDERAL FALSE CLAIMS ACT, 31 U.S.C. §§ 3729-3732

Plaintiff José R. (“Josh”) Valdez (“Relator”), as qui tam relator on behalf United

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States of America, brings this action pursuant to 31 U.S.C.

 

 

 

Claims Act”) to recover all damages, penalties and other re ed es §\H"ila|§;‘le toth U ited
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States and Valdez under the False Claims Act, and in support thereof would show the
following:
PARTIES

1. Plaintiff/Relator, José R. (“Josh”) Valdez (“Valdez”), is a citizen of the
United States and a resident of the State of California.

2. Defendant AVETA INC. (“Aveta”) is incorporated under the laws of the
State of Delaware, with its principal place of business in Fort Lee, New Jersey. Aveta
regularly transacts business in the Central District of California through its own
operations; through the activities of its President and Chief Executive Ofticer, Richard
Shinto (“Shinto”), who resides within this District; and through the operations of its
wholly owned subsidiary, North American Medical Management of California, Inc.
(“NAMM-California”), which is incorporated under the laws of California and
headquartered in Ontario, California. Aveta may be served through its registered agent,
Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, DE 19808.
Alternatively, Aveta may be served through Shinto, who resides at 18992 Montecito
Drive, Yorba Linda, CA 92886.

3. Defendant Ml\/[M HEALTHCARE, INC. (“Ml\/[M”) is a corporation
incorporated under the laws of the Commonwealth of Puerto Rico, with its principal place
of business in Puerto Rico. MMM regularly transacts business in the Central District of
California through the activities of its Chief EXecutive Offlcer, Shinto, Who resides Within
this District. MMM may be served through Shinto.

4. Defendant PMC MEDICARE CHOICE, INC. (“PMC”) is a corporation
incorporated under the laws of the Commonwealth of Puerto Rico, with its principal place
of business in Puerto Rico. PMC regularly transacts business in the Central District of
California through the activities of its Chief EXecutive Officer, Shinto, who resides within
this District. PMC may be served through its registered agent, FGR Corporate Services,
Inc., Calle Alda #1551, Suite 201, Urb. Caribe, San Juan, P. R. 00926- 2709.

Alternatively, PMC may be served through Shinto.
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5. Defendant MSO OF PUERTO RICO, INC. (“MSO”) is a corporation
organized under the laws of the Commonwealth of Puerto Rico, with its principal place of
business in Puerto Rico. MSO regularly transacts business in the Central District of
Califomia through the activities of its Chief Executive Officer, Shinto, who resides Within
this District. MSO may be served through its resident agent, FGR Corporate Services,
Inc., Scotiabank Plaza, Suite 700, 273 Avenida Ponce de Le<')n, San Juan, P.R. 00917.
Alternatively, PMC may be served through Shinto.

6. Defendant l\/lMl\/l HOLDINGS, INC. (“Ml\/[M Holdings”) is a corporation
incorporated under the laws of the Commonwealth of Puerto Rico, with its principal place
of business in Puerto Rico. Ml\/ll\/l Holdings regularly transacts business in the Central
District of California through the activities of its Chief Executive Officer, Shinto, who
resides within this District. Ml\/[l\/I Holdings may be served through Carlos Vivaldi, its
Chief Financial Offlcer, at 350 Torre Chard<')n, Suite 500, San Juan, P.R. 00918-2123.
Alternatively, MMM Holdings may be served through Shinto.

JURISDICTION AND VENUE

7. Jurisdiction over this action properly lies in the U.S. District Court for the
Central District of Califomia pursuant to the False Claims Act, 31 U.S.C. §§ 3730(b)(l)
and 3732(a), because Relator’s claims seek remedies on behalf of the United States for
Defendants’ multiple violations of 31 U.S.C. § 3729 and because at least one Defendant,
Aveta, transacts business within this District.

8. Venue is proper in the U.S. District Court for the Central District of
California pursuant to 31 U.S.C. §§ 3730(b)(1) and 3732(a) because all Defendants
regularly transact business within this District through Shinto, their Chief EXecutive
Ofiicer, and further because Aveta regularly transacts business within this District through

its own operations and the operations of NAl\/ll\/I.

 

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FACTUAL ALLEGATIONS
OVERVIEW

9. This lawsuit concerns rampant fraud perpetrated by the Defendants against
the federal Medicare program (“Medicare”) over a period of several years through the
knowing submission, concealment, and/or failure to correct member-related risk
adjustment data that improperly inflated the amounts paid to the Defendants by hundreds
of millions of dollars per year.

10. Beginning at least in January 2007 and continuing at least through December
13, 2010 (the “Relevant Period”), the Defendants knowingly overstated, and/or concealed
and failed to correct their overstatements of, risk adjustment scores submitted to the
Centers for Medicare & Medicaid Services (“CMS”) for purposes of calculating the
monthly government payments made to Defendant Aveta’s two Medicare Advantage
plans in Puerto Rico, Defendants MMM and PMC (the “Plans”). By submitting inflated
risk-adjustment scores for each Plan member, the Defendants caused CMS to assign
higher multipliers - known as risk adjustment factors _ to the Plans that resulted in much
higher government payments than the Plans were entitled to receive.

11. In so doing, the Defendants knowingly presented or caused to be presented
false or fraudulent claims to CMS for payment or approval, and knowingly made, used, or
caused to be made or used false records or statements to CMS for payment or approval of
false claims. The risk adjustment scores were false or fraudulent because they were based
on diagnosis codes that were not substantiated by the medical records or by the medical
conditions of the Medicare beneficiaries served by the Plans.

12. Valdez is informed and believes that Aveta collected as much as $350
million per year in improperly inflated payments from CMS based on the falsely inflated
risk adjustment scores submitted by the Defendants. j

13. Throughout the eight months he served as President of Defendant MSO,
Valdez repeatedly asked questions, marshaled evidence, and spoke out against the

Defendants’ overbilling practices and other violations of law. On December 13, 2010,
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Valdez’s employment was terminated, without cause or warning, in retaliation for his

outspoken opposition to these illegal practices. Defendants refused to pay him the

severance he was due under his employment agreement with MSO unless he signed an

agreement releasing claims against all Defendants and their affiliates and agreeing not to

sue or make negative comments about them, which Valdez refused to sign.
BACKGROUND

14. Aveta, which has more than $2.3 billion in annual revenues, is one of the
largest providers of managed health-care services in the United States. Aveta coordinates
care for more than 23 0,000 Medicare beneficiaries and more than 300,000 commercial
members through its wholly owned subsidiaries in Puerto Rico, California and Illinois.

15. Two of Aveta’s subsidiaries, Defendants MMM and PMC (the “Plans”),
operate Medicare Advantage plans in Puerto Rico that account for more than 185,000 - or
about 80 percent - of the Medicare beneficiaries served by Aveta. MMM is the largest of
the two Plans with more than 130,000 members.

16. Through the Plans, Aveta contracts with the Centers for Medicare and
Medicaid Services (“CMS”), an agency of the U.S. Department of Health and Human
Services (“HHS”), to provide its Medicare Advantage services in return for monthly
capitated (z`.e., per-person) payments from CMS designed to cover the Plans’ costs up to a
regional maximum.

l7. The Plans consistently receive payments exceeding the regional maximum,
however, by submitting “risk adjustment” scores to CMS that purport to reflect the most
serious health conditions with which each Plan member has been diagnosed over the
preceding year. Based on these individual risk scores, CMS assigns an overall risk
adjustment factor to each Plan that serves as a multiplier in calculating the capitation
payment rate for each Plan.

18. Generally, Plan members who are in poorer health ~ and presumably more
costly to treat - receive higher risk Scores and generate higher risk-adjusted payments for

the Plans than do healthier members.

 

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FALSE CLAIMS ACT

19. This is an action by Valdez, as qui iam Relator, to recover damages and civil
penalties on behalf of the United States and himself arising from the false claims and
statements made by the Defendants in violation of the federal False Claims Act, 31 U.S.C.
§§ 3729-3732.

20. The False Claims Act provides that any person who knowingly submits or
causes to be submitted a false or fraudulent claim to the United States for payment or
approval, or who makes or causes to be made a false statement or record in connection
with such a claim, is liable to the federal government for a civil penalty of not less than
$5,5 00 and not more than $11,000 for each such claim, plus three (3) times the amount of
damages sustained by the government because of the false claim or statement

21. CMS made risk-adjusted payments to the Plans totaling approximately $1.5
billion in 2008 and approximately $1.8 billion in 2009 and 2010, respectively. Valdez is
informed and believes that CMS paid the Plans a total of no less than $1 billion in 2007.

22. During the Relevant Period, the Defendants sought to maximize the
payments they received from CMS by focusing their marketing efforts on attracting
chronically ill members whose health conditions would generate the highest risk
adjustment factors (“RAF”). In a Form S-l/A Registration Statement filed with the
Securities and Exchange Commission in June 2006, Aveta emphasized the importance of

RAFS to the company’s strategy for maximizing revenues from CMS:

[U]nder the risk ad'ustment formula, health_ plans are_ paid hi her premiums to
care for chronically 11 Medicare beneficiaries in reco nition oft e increased costs
associated with the care of these beneficiaries We _be ieve that the implementation
of Medicare’S risk adjustment formula will provide a_significant opportunity for
Medicare Advantage companies like ours that can effectively serve these
chronically ill populations. _ _

We focus on the treatment o_f the chronically ill segment of the Medicare
population. . Under Medicare’s ri_sk adjustment formula. . ., health plans are paid
greater premiums to care for_ chronically ill beneficiaries in_ reco nition of the
increased costs associated with the care of the_se beneficiaries e_ estimate that
payments to health lans in resp_ect of ap roximately 50% of Medicare beneficiaries
would reflect these_ igher premiums. e believe that the full implementation of
Medicare’s risk adjustment formula will p_rovide a significant opportunity for
Medicare Advantage pl_ans that can effectively maria e these chronically ill
populations. . .. We believe that our understanding o the regulatory environment

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allowed us to quickly recognize the economic implications of the risk-adjusted
reimbursement methodology and to rapidly adjust our strategy in order to focus on
chronically ill Medicare beneficiaries . .. .

[A] change in the risk adjustment payment system for Medicare health lans
(the current payment system that pays health plans higher premiums for mem ers
likely_to require more care than average Medicare beneficiaries based upon
historical medical diagnoses), or a change that reduces payments or benefits for the
chronically ill population could adverse y affect our revenue and profitability.

23. Throughout the Relevant Period, the Defendants sought to falsely inflate the
RAFs assigned to the Plans by submitting diagnosis codes - known as 1CD-9-CM codes -
to CMS that were not supported by the underlying medical records or by the actual
medical conditions of Plan members. l

24. The Defendants’ submissions of incomplete and/or erroneous risk adjustment
data to CMS, in addition to their knowing concealment and failure to correct such data,
damaged the United States by causing it to pay hundreds of millions of dollars more to the
Plans during the Relevant Period than they were entitled to receive.

25. In numerous internal meetings of the Defendants’ senior management, Aveta
executives estimated that the Plans’ potential liability to CMS ranged between $3 00
million and 8350 million per year from 2007 to 2010.

26. The risk adjustment data submitted to CMS was based on Medical Status
Visit (“MSV”) forms purportedly generated by medical providers and submitted to the
Plans in connection with each member visit. The MSV forms were the primary tool used
by the Plans to generate the ICD-9-CM diagnosis codes ultimately submitted to CMS for
purposes of calculating the RAFs on which payments were based.

27. In a Spanish-language newsletter to providers that is undated but appears to
have been circulated in mid-2008, the Plans described MSV forms as the primary means
of gathering “crucial patient information” that “allows for the identification of high risk
members and the creation of specialized programs through the identification of areas of

opportunity. Another added benefit of the MSV for the provider is the maximization of

the RAF (Risk Adjustment Factor) of the member.” The same message to providers was

displayed on MMM’s website as recently as late March 2011.

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28. Each time the Plans submitted diagnosis codes to CMS, CMS was not in a
position to verify the codes’ accuracy because CMS did not require the Plans to submit
supporting documentation with the codes. Instead, CMS relied on the Plans to submit
medically supported diagnoses in the first instance and to delete any diagnoses that the
Plans later determined were unsupported by the underlying medical records.

29. The Plans’ contracts with their medical providers created incentives for the
providers to inflate the ICD-9-CM codes that they recorded for Plan members.
Throughout the Relevant Period, Plan providers that were organized as Independent
Practice Associations (“IPAS”) maintained profit-sharing arrangements with the Plans
pursuant to which each IPA received 50% to 60% of the “surplus” (l'.e., profit) earned by
the Plans on that IPA’s member services. Despite this built-in incentive for IPAs to
inflate diagnosis codes, the Defendants knowingly failed to take corrective measures to
delete or filter out inaccurate risk adjustment data submitted to CMS or to otherwise
ensure the integrity of the data submitted to CMS. They also knowingly failed to take any
steps to correct the risk adjustment data submitted to CMS after learning that the data was
inaccurate

30. In a subsequent Spanish-language newsletter to providers dated March 2009,
the Plans reported that a recent CMS audit (presumably involving other Medicare
Advantage plans) had found that “a significant percentage of medical records did not
comply with basic documentation requirements.” The newsletter explained: “Said files
did not validate the diagnoses recorded in the MSVS. Many doctors limited themselves to
documenting diagnoses and medications without justifying the need for the same.”

31. Valdez was hired on April 1, 2010, as President of MSO. Between April 1
and April 16, 2010, Valdez received training in Ontario, California, focusing on the
business operations ofNAl\/ll\/I-California, Aveta’s subsidiary in California. During the
training, a NAMM employee asked Valdez whether he was aware of the “MSV issue” in

Puerto Rico. Valdez said he was not, and his efforts to learn about the issue were

unsuccessful.

 

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32. Shortly after he reported for work at MSO’s Puerto Rico headquarters on
April 19, 2010, Valdez discovered that the “l\/ISV issue” referred to by the employee was
the Defendants’ practice of overcharging CMS based on inflated risk adjustment scores
Valdez spoke out repeatedly against this practice during his eight months at MSO until he
was fired in December 2010 by Richard Shinto, the Chief Executive Officer of all five
Defendants, for refusing to drop his objections

33. In April 2010, senior executives of all five Defendants met to discuss the
Plans’ exposure in the event of a CMS audit of the Plans’ RAFs over the previous three
years The executives agreed to develop a strategy for dealing with such an audit if it
were to occur.

34. In May 2010, Shinto informed Valdez that an internal audit of MSV forms
(the “Internal Audit”) had discovered a substantial discrepancy between the risk
adjustment data reported to CMS and the underlying medical records maintained by Plan
providers Shinto stated that only 33 percent of the audited MSV forms were accurate,
while the other.67% lacked adequate support in the medical records

35. The audit findings led to a series of discussions among the Defendants’
senior executives about the need to establish a reserve (the “RAF Reserve”) to cover the
liability that could result if CMS audited the risk-adjustment data submitted by the Plans
and discovered hundreds of millions of dollars in overpayments by CMS. Orlando
Gonzalez, the President of MMM and PMC, was among those who favored creating an
RAF Reserve sufficient to cover the liability that could result from a CMS audit.

36. In July 2010, senior executives of all five Defendants met to discuss the
Internal Audit and the need for the RAF Reserve. Penelope Kokk_inides, the Chief
Operating Officer of Aveta, stated that an aggressive RAF strategy remained the key to
maximizing payments from the government, but that based on the Intemal Audit, inflated
RAFs were resulting in substantial overcharges to the government based on diagnosis

codes that were not supported by the underlying medical records

 

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37. Kokkinides stated at the meeting that 97% of the Plans’ providers were non-
compliant with CMS standards She stated that the Defendants would be “screwed” if
CMS audited the Plans, particularly if such an audit reached back to 2007 because Plan
overcharges to CMS were particularly egregious that year. Kokkinides also stated that the
Plans’ exposure to the federal government could be as high as 20% of total revenue,
which she stated was approximately $350 million per year.

38. Valdez is informed and believes that the Plans’ RAFS during the Relevant
Period were substantially higher than those of other Medicare Advantage plans serving
demographically and diagnostically similar populations in Puerto Rico, in addition to
comparable Medicare-Advantage plans nationwide In 2009, for example, the Plans’
RAF s were approximately 1.39, while the RAF for MCS Advantage, a competing
Medicare Advantage plan in Puerto Rico whose members had similar demographic and
diagnostic characteristics was approximately 1.10.

39. In a meeting in late July 2010, senior executives of the five Defendants
decided to withhold $21 million per quarter from future surplus payments made to the
IPAs under their profit-sharing arrangements with the Plans, and to place those funds in
the RAF Reserve. Under this plan, the IPAs would contribute $84 million per year -
almost their entire share of the surplus for 2009 - to the RAF Reserve. lt was decided not
to seek disgorgement of previous surplus payments made to the IPAs for fear that such a
request would cause providers to leave the Plans,

40. In August 2010, Doug Malton, the Chief Executive Officer of Aveta, told
Valdez and others that the Plans should reserve $27 million from the next quarterly profit-
sharing payment to the IPAs and $5 million per quarter thereafter. While the IPAS’
proportional share of the surplus resulting from improperly obtained CMS payments was
significantly higher, Aveta executives were still concerned that IPAs might defect to
competing plans if asked to pay more into the RAF Reserve.

41. The IPAs were informed of the decision at a meeting of the MSO Advisory

Board - a group of IPA representatives and Aveta executives - in early August 2010.
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Carlos Vivaldi, Chief Financial Officer of l\/ll\/IM Holdings, told the IPAs that the inflated
RAFS submitted to CMS had resulted in approximately $300 million per year in
unsubstantiated payments to the Plans He stated that a portion of future profit-sharing
payments to IPAs would have to be withheld to fund the RAF Reserve.

42. At the same time that the Defendants were requiring the IPAs to contribute
millions of dollars to the RAF Reserve, they were telling the IPAs that the Defendants
would contribute substantially more to the Reserve.

43. In December 2010, Aveta announced that it was increasing its loan facilities
by $100 million and using the entire proceeds to pay a dividend to Aveta shareholders the
largest of whom was founder and Chairman Daniel E. Straus. Valdez objected to paying
the dividend while the Defendants’ potential liability to the government for RAF
overcharges remained unaddressed.

44. On December 13, 2010, less than one week after the dividend was
announced, Shinto terminated Valdez’s employment without cause or warning.

45. Throughout Valdez’s eight months as MSO President, Defendants gave no
indication that they would delete or correct the inflated risk adjustment data submitted to
CMS, either prospectively or retrospectively. Nor did the Defendants give any indication
that they would notify CMS of the problem or return the improperly obtained hinds to the
govemment.

46. In fact, the Defendants engaged in further wrongful conduct to maximize
their gains from the RAF overcharges For example, Defendants decided not to pay
approximately $5 0 million owed to medical specialists as a result of government-
mandated increases in the Medicare fee schedule that took effect in 2010. Shinto went to
unusual lengths to keep the decision a closely guarded secret, at one point instructing
senior executives not to copy their subordinates on any e-mails referring to the decision.

47. In November 2010, Shinto further directed his subordinates to stop making

federally required payments to non-Plan providers for such services as emergency room

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treatment Valdez’s termination by Shinto occurred a few weeks after he refused to carry
out this instruction.

48. Subsequent to Valdez’s termination, Defendants Aveta and MSO refused to
pay him the severance to which he was entitled under his employment agreement with
MSO unless he signed a general release of claims against the Defendants and their
affiliates, agreed not to sue Defendants or their affiliates, and agreed not to make any
negative comments about them or their business operations Valdez did not sign the
release and Defendants have not paid him the severance due under the employment
agreement

49. Valdez’s termination was in retaliation for his repeated, outspoken and
lawful opposition to (i) Defendants’ submission, concealment and refusal to correct
inflated RAFs;~(ii) Defendants’ decision to make only partial payments of certain of their
obligations to Plan providers; and (iii) Defendants’ decision to stop making federally
required payments to non-Plan providers

50. On or about December 13, 2010, persons acting at the direction of one or
more Defendants deleted most of the e-mails and attached documents relating to the RAF
inflation issue from Valdez’s company laptop without Valdez’s knowledge or consent.

51. As recently as late March 2011, persons acting at the direction of the
Defendants contacted Valdez’s friends and relatives to warn them that the Defendants
were watching Valdez “like a hawk” and that disclosure of Valdez’s allegations could cost
the Defendants more than 83 00 million.

52. On March 30, 2011, pursuant to 31 U.S.C. §§ 3730(e)(4)(B) and 3730 (b)(2),
Valdez provided the Attomey General of the United States and the United States Attorney
for the Central District of California with written disclosure of all material evidence and
information related to this complaint of which Valdez is currently aware. That disclosure

statement was accompanied by numerous exhibits of documentary evidence.

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CAUSES OF ACTION

COUNT I: FALSE CLAIMS ( 31 U.S.C. § 3729)
(Against all Defendants)

53. Valdez realleges and hereby incorporates by reference every allegation set
forth in paragraphs 1 through 52 of this complaint
54. Through the acts described above, the Defendants knowingly violated the

False Claims Act through one or more of the following:

a. Knowingl_y presenting, or causing to be presented to an officer or employee
of the Ulnited States government a false or fraudufent claim for payment or
approva ;

b. Knowingly making, using, or causing to_be made or used , a false recor_d or
statement to get a alse or fraudulent claim paid or approved by the United
States govemment;

c. Conspiring to_defraud the government by getting a false or fraudulent claim
allowed or paid; and/or

'd. Knowingly making, using, or causing to be made or used, a false record or

statement to conceal, avoid, or decrease an obligation to pay or transmit
money or property to the United States govemment.

55. The United States government was unaware of the falsity of these claims,
records and/or statements made by the Defendants and, in reliance on the accuracy
thereof, paid the Defendants for the claims

5 6. Due to the Defendants’ conduct, the United States has suffered substantial

monetary damages

COUNT II: RETALIATORY DISCHARGE ( 31 U.S.C. § 3730(hll
(Against Defendants Aveta and MSO)

57. Valdez realleges and hereby incorporates by reference every allegation set

forth in paragraphs 1 through 56 of this complaint

58. By terminating Valdez’s employment after only eight months without cause
or warning, Defendants Aveta and MSO retaliated against him for repeatedly and lawfully

asking questions, marshaling evidence, and speaking out against the Defendants’

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overbilling practices and other violations of law in furtherance of the relief sought in this
complaint

59. After he was terminated, Defendants refused to pay Valdez the severance he
was due under his employment agreement with MSO unless he signed an agreement
releasing claims against all Defendants and their affiliates and agreeing not to sue or make
negative comments about them, which Valdez refused to sign.

60. Due to the above-described conduct by Aveta and MSO, Valdez has suffered
substantial damages

RELIEF

1. On behalf of the United States, Valdez seeks monetary damages equal to
three (3) times that suffered by the United States as a result of Defendants’ violations of
the False Claims Act. In addition, Valdez seeks all civil penalties on behalf of the United

States in accordance with the False Claims Act.

2. As the qui iam Relator, Valdez seeks to be awarded the maximum amount
allowed pursuant to 31 U.S.C. § 3730(d).
3. As the qui mm Relator, Valdez seeks to be awarded all expenses, fees and

costs incurred in this action, including attorney’s fees and court costs, pursuant to 31

U.s.c. § 3730(6).

4. In his personal capacity, Valdez seeks to be awarded the maximum amount
allowed pursuant to 31 U.S.C. § 3730(h), including special damages, litigation costs and

attorney’s fees

5. Valdez seeks prejudgment interest for himself and for the United States at the

highest rate allowed by law.

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PRAYER
WHEREFORE, Valdez prays that this Court enter judgment on behalf of the United
States and against the Defendants awarding:
a. To the United _States, dama e_s in the amount of three 3) times the actual
damages sustaine_d by the _ nited States as a result of t e Defendants’
violations of the false Claims Act;

b. To the United States, civil enalties a ainst the Defendants equal to $11,000
for each violation of 31 U. .C. § 372§;

c. To Valdez, the maximum allowed pursuant to 31 U.S.C. § 3730(d);

d. To Valdez, all expenses, fees and costs incurred in this action, including
attomey’s fees and costs;

e. To Valdez, the maximum allowed pursuant to 31 U.S.C. § 373 O(h), including
special damages, litigation costs and attorney’s fees;

f. To Valdez and the United States, prejudgment interest at the highest rate
allowed by law; and

g. To Valdez and the United States, all other relief to which they may be
entitled and that the Court deems just and proper.

Dated: April 20, 2011 4 Respectfully submitted,

   
 
 

BIENERT,

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,,/" Luis eldstein
]A/tt meys for Plaintiff/Realtor
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/ sE R. vALDEz

 
  

 

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